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 9                                 UNITED STATES DISTRICT COURT

10                                NORTHERNDISTRICTOF CALIFORNIA
11                                       OAKLAND DIVISION

12

13   BRITTANY WYNN, on behalfofherself and       Case No.
     all others similarly situated,
14                                               CLASS-ACTION
                    Plaintiff,
15                                               COMPLAINT
            V.
16                                               Violation of 15 U. S. C. §§ 1681b(b)(2)(A) (Fair
     UNITEDPARCELSERVICE,INC., an Ohio           Credit Reporting Act)
17 corporation; and DOES 1 through 50,
     inclusive,                                  DEMAND FOR JURY TRIAL
18
19                  Defendants.

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  1          COMES NOW, Plaintiff BRITTANY WYNN (hereafter "Plaintiff"), on behalf ofherself and all

  2 others similarly situated,andcomplams andalleges as follows:
  3                                                INTRODUCTION

  4           1.       Plaintififbrings this class action against defendant UNITED PARCEL SERVICE, INC.,

  5 anOhiocorporation; andDOES1 through50incliisively(collectively referredto as "Defendants"),for
  6 alleged violations ofthe Fair Credit Reporting Act ("FCRA"), 15 U. S.C. §§ 1681 etsequitur.

  7          2.        Plaintiffalleges that Defendants routinely acquire consumer reports to conduct

  8 background checks on Plaintiffand other prospective, current, and fonner employees anduse
 9 information from consumer rqiorts in connection with their hiring process without providing proper
10 disclosuresandwithoutobtainingproperauthorizationin compliancewiththelaw.

11           3.         Plaintiff,individuallyandonbehalfofall otherssimilarly situatedcurrent, fonner, and

12 prospectiveemployees, seeksstatutorypenalties dueto Defendants'systematicandwillful violationsof
13 theFCRA.

14                                         JURISDICTION AND VENUE

15           4.        This Court has original subject matterjurisdiction over Plaintiffs claims pursuant to 28

16 U. S.C. section 1331 because these claims seekredress for violation ofPlamtiffs andthe putative class'
17 federalstatutoryrightsundertheFairCreditReportingAct (15 U.S.C. §§ 1681 etseq.).

18           5.        Venueis properinthis Districtunder28 U.S.C. section 1391(b)(2) and(c) because a

19 substantialpart ofthe events andomissionsgivingriseto the claimsallegedin Ihiscomplaintoccurred
20 in this District.

21           6.        This CourthaspersonaljurisdictionoverthismatterbecauseDefendantsconduct

22 substantialbusinessactivityin thisDistrict, andbecausemanyoftheunlawfulactsdescribedm this

23 complaintoccurredin this Districtandgaveriseto the claims alleged.
24                                                     PARTIES

25           7.        Plaintiff is an individual who resides m the State of California.

26           8.        DefendantUNITEDPARCELSERVICE,INC.is anOhiocorporationanddoes
27 business in the State of California.

28           9.        Plaintiffis ignorant ofthe true names, capacities, relationships, and extent of

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  1 participationin the conductallegedhereinofthedefendantssuedasDOES 1 through50, inclusive,but

  2 isinformedandbelieves andthereonallegesthat saiddefendantsarelegallyresponsibleforthe
  3 wrongful conduct alleged herein and therefore sues these defendants by such fictitious names. Plaintiff

 4 will amend the Complaint to allege the tme names and capacities ofthe DOE defendants when

 5   ascertained.

 6           10.      Plaintiffis infonned and believes and thereon alleges that, at all relevant times herein, all

 7 Defendants were the agents, employees, servants, masters, or employers ofthe remaining defendants

 8 and,in doingtfaethingshereinafteralleged,wereactingwithinthe courseandscopeofsuchagencyor
 9 employment andwiththe approval andratificationofeachoftheotherDefendants.

10           11.      Plaintiffallegesthat eachandevery oneoftheacts andomissionsallegedhereinwere

11 perfonnedby and/orattributableto all Defendants,eachactingas agentsand/oremployees and/orunder
12 the directionand control ofeachofthe otherdefendants, andthat saidacts andfailuresto actwere

13 withinthe courseandscopeofsaidagency,employment, and/ordirectionandconfa-ol.
14                                           CLASS ALLEGATIONS

15           12.      This actionhasbeenbroughtandmaybemaintainedasa classactionpursuantto
16 Federal Rules ofCivil Procedure 23 becausethere is a well-defined community ofinterest among many
17 personswho comprisethe classdefinedbelow.
18          13.       Class Definitions: The class is defined as follows:

19          FCRA Class: All of Defendants' current, fanner and prospective applicants for
            employment in the United States who applied for a job with Defendants for whom a
20          backgroundcheckwasperformedatanytimeduringfheperiodbeginningfiveyearsprior
            to the filing of this action and ending on the date that final judgment is entered in this
21          action.

22          14.       Revisionsto Pro osedClassDefinitions:Plaintiffreservestherightto amendor

23 modifythe classdefimtionsby furtherdivisioninto subclassesand/orbylimitationto particularissues
24 and/or to exclude improper constituents as may subsequently prove necessary.

25          15.       Numerosi : The class members are so numerous that the individual joinder ofeach

26 individualclassmemberis impractical.WhilePlaintififdoesnot currentlyknowthe exactnumberof

27 classmembers, Plaintiffis informedandbelievesthattheactualnumberexceedstheminimumrequired
28 for numerosity under federal law.


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  1           16.      CommonaU andPredominance:Commonquestionsoflawandfact existasto all

  2 classmembers andpredominateover anyquestionsthat affectonlyindividualclassmembers. These

  3 questionsinclude,but arenot limitedto:

 4              i.     Whether Defendants willfully failed to provide the class with clear and conspicuous,

 5                     stand-alone written disclosures before obtaining a background report in compliance with
 6                     the statutorymandates;

 7             ii.     WhetherDefendantswillfully failedto identifythename, address,telephonenumber,

 8                     and/orwebsiteofthe consumerreportmgagencyconductingtheinvestigation;
 9            iii.     Whether Defendants willfully failed to identify the source ofthe consumer report to be
10                     performed; and

11             iv.     WhetherDefendantswillfully failedto complywiththeFCRA.

12           17.       Typicality: Plaintiff'sclaimsaretypicaloftheotherclassmembers' claims. Plaintiffis

13 infonned andbelieves andfhereon alleges that Defendants have a policy, practice, or a lack ofa policy
14 whichresultedin Defendantsfailingto complywiththeFCRAasallegedherein.

15           18.       Ade uac ofClassRe resentative: Plaintiffis anadequateclassrepresentativein that
16 shehasno interests that are adverseto, or otherwisein conflict with, the interests ofabsent class

17 members. PlaintifiFis dedicatedto vigorouslyprosecutingthis actiononbehalfofclassmembers.

18 Plaintiffwill fairly andadequatelyrepresent andprotectfheinterestsofclassmembers.
19           19.       Ade uac ofClass Counsel: PlaintifPscounsel areadequateclasscounselin thatthey

20 haveno knownconflicts ofinterestwithPlaintiffor absentclassmembers, areexperiencedin class
21 action litigation, and are dedicated to vigorously prosecuting this action on behalfof Plaintiff and absent

22    class members.

23           20.       Su eriori : A classactionis vastly superiorto other availablemeansfor fairand

24 efficientadjudicationofclassmembers' claims andwouldbebeneficialto thepartiesandthe Court.

25 Class-actiontreatmentwill allow a numberofsimilarly situatedpersonsto simultaneouslyand
26 efficiently prosecute their common claims in a single forum without the unnecessary duplication of
27 effort andexpensethatnumerousindividualactionswouldentail. In addition,themonetary amountsdue

28 to manyindividualclassmembers arelikely to berelatively small andwouldthusmakeit difi&cult,if

                                                         3
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 1 not impossible, for individualclassmembersto both seekandobtainrelief. Moreover, a classactionwill

 2 serveanimportantpublicinterestbypermittingclassmembersto effectivelypursuetherecoveryof

 3 moniesowedto them. Further, a classactionwill preventthepotential for inconsistentor contradictory

 4 judgments inherentin individuallitigation.
 5               GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

 6         21.     Thedisclosurerequirementat issue, 15 U.S.C. section 168lb(b)(2)(A)(i), createsa right

 7 to informationby requiringprospective employersto infonnjob applicantsthattheyintendto procure

 8 Aeir consumerreports aspartofthe employment applicationprocess. The authorizationrequirement,

 9 Section 1681b(b)(2)(A)(ii), createsa rightto privacyby enablingapplicantsto withholdpennissionto

10 obtainthereport fi-omtheprospective employer, anda concreteinjurywhenapplicantsaredeprivedof
11 theirabilityto meaningfullyauthorizethebackgroundcheck.

12         22.     By failingto providea clearandconspicuousdisclosureand/ora disclosurethat consists

13 solely ofthedisclosure, Defendantshavecreatedinformationalinjurieswiththeirfailureto complywith
14 theFCRA.

15         23.     Accordingly, PlaintiffdiscoveredDefendantUPS's violation(s) withinthelasttwo years
16 whensheobtainedandreviewedherpersonnel file from DefendantUPSanddiscoveredthatDefendant

17 UPShadprocured and/or caused to beprocured a 'consumer report' regarding her for employment
18 purposes withoutfurnishinga compliantdisclosurethat consistedsolely ofthedisclosureandobtaining
19 writtenauthorizationfrom Plaintiffpriorto procuringa backgroundcheckreport onPlaintiff.
20                                     FIRST CAUSE OF ACTION

21        FAILURE TO MAKE PROPER DISCLOSURE IN VIOLATION OF THE FCRA

22                                     (15 U. S. C. §§ 1681b(b)(2)(A))

23                     (By Plaintiffand the FCRA Class AgainstAU Defendants)

24         24.     PlaintifFincorporatesall paragraphsofthis Complaint asif fully allegedherein.
25         25.     Defendantsare"persons"asdefinedby § 1681a(b)oftheFCRA.

26         26.     PlaintiffandFCRA Classmembers are"consumers"withinthemeaningof§ 1681a(c)

27 oftheFCRA,becausetheyareindividuals.

28         27.     Section 1681a(d)(l) oftheFCRAdefines"consumerreport" as

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  1           any written, oral, or other communication of any information by a consumer reporting
              agency bearing on a consumer's credit worthiness, credit standing, credit capacity,
  2           character,generalreputation,personal characteristics,ormodeofliving whichis usedor
              expectedto beusedor collected in wholeor in part for thepurposeofserving as a factor
  3           in establishingtheconsumer's eligibility. . .for employmentpurposes.

  4 As defined,a creditor backgroundreport qualifiesasa consumerreport.

  5           28.       Section 168lb(b) oftheFCRAprovides, in relevantpart:

  6           Conditionsfor furnishingandusingconsumerreports for employmentpurposes
 7            (b) Conditionsfor furnishingandusingconsumerreports for employmentpurposes
                    -rJU.-.
                    .




 8                  (2) Disclosure to consumer

 9                      (A) In general

10                      Except as provided in subparagraph(B), a person may not procure a consumer
                        report, or causea consumerreportto beprocured, for employmentpurposeswith
11                      respect to any consumer, unless-

12                          (i) a clear and conspicuous disclosure has been made in writing to the
                            consumer at any time before the report is procured or caused to be
13                          procured, in a document that consists solely of the disclosure, that a
                            consumerreportmaybeobtainedfor employmentpurposes; and
14
                            (ii) the consumerhas authorizedin writing (which authorizationmaybe
15                          made on the document referred to in clause (i)) fhe procurement of the
                            report by that person.
16
              (Emphasis added.)
17

18            29.       Section 168lb(b)(2)(A)(i) requires that a clear and conspicuous disclosure be made in

19 writing.

20            30.       As describedabove, Plaintiffalleges, on informationandbelief, thatin evaluatingher

21 andotherclassmembers for employment, Defendantsprocuredor causedto bepreparedcredit and

22 backgroundreports (i.e., a consumerreport and/orinvestigativeconsumerreport, asdefinedby 15
23 U. S. C. § 1681a(d)(l)(B) and 15 U. S. C. § 1681a(e)).

24            31.       Under the FCRA, it is unlawful to procure or caused to be procured a consumer report or
25 investigativeconsumerreport for employmentpurposesunlessthe disclosureismadein a documentthat

26 consistssolelyofthe disclosureandtheconsumerhasauthorized,in writing,theprocurementofthe
27 report. 15 U. S.C. § 1681b(b)(2)(A)(i)-(ii). Lackofdisclosure, therefore, violates § 1681b(b)(2)(A) of
28 fheFCRA.


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     1            32.     Although the disclosure andthe authorization may be combined in a single document,

 2 the Federal Trade Commission ("FTC") has warned that the form should not include any extraneous
 3 infomiationnorbepart ofanotherdocument. Forexample, in responseto aninquiry asto whetherthe

 4 disclosuremaybe set forthwithinanapplicationfor employmentor whefherit mustbeincludedin a

 5 separatedocmnent, the FTCstated:
 6               The disclosure may notbepart ofanemployment application becausethelanguage [of 15
                 U. S.C. § 1681b(b)(2)(A) is] intended to ensure that it appears conspicuously in a
 7               document not encumbered by any other infonnation. The reason for requiring that the
                 disclosure bein a stand-alone document is to prevent consumers from being distracted by
 8               other infonnation side-by-side within the disclosure.

 9               33.      Defendants'conductin violationofSection 1681b(b)(2)(A) oftheFCRAwasandis

10 willful. Defendantsactedin deliberateorreckless disregardoftheirobligationsandtherightsof
11 applicants and employees, including Plaintiff and class members. Defendants' willful conduct is

12 reflectedby, amongotherthings,the followingfacts:

13                  i.    Defendantsarelargeentitieswithaccessto legal advice;

14                 ii.    Theplainlanguageofthe statuteimambiguouslyindicatesthat lackofdisclosureand

15                        authorizationviolatesthedisclosureandauthorizationrequirements;

16               34.     Accordingly, Defendants willfully violated and continue to violate flie FCRA including,
17 butnotlimitedto, § 168lb(b)(2)(A). Defendants'willful conductis reflectedby, amongotherthings,the
18       facts set forth above.

19               35.     Plaintiff, onbehalfofherselfand all FCRA. Class members, seeks remedies pursuant to
20 15 U.S.C. § 1681n,includingstatutorypenalties,punitivedamages,attorneys' fees, andcosts.
21                                               PRAYERFORRELIEF

22               WHEREFORE, Plaintiff, onbehalfofPlaintiffand all others similarly situated, prays for relief
23 andjudgment againstDefendantsasfollows:
24               A. An order that the action be certified as a class action;

25               B. An orderthatPlaintififbeappointedclassrepresentative;
26               C. An order that counsel for Plaintiffbe appointed class counsel;

27               D. Statutorypenalties;
28               E. Punitivedamages;


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     1           F. Injunctive relief;

 2               G. Costs ofsuit;

 3               H. Interest;

 4               I. Reasonable attorneys' fees; and

 5               J. Such other relief as the Court deems just and proper or as authorized by statute.

 6                                           DEMAND FOR JURY TRIAL

 7               Plaintiff, on behalfofPlaintififand all others similarly sihiated, hereby demands a jury tiial on all
 8       issues so triable.

 9


10 DATED: December27, 2021                               SETAREH LAW GROUP

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12                                                        /s/ Shaun Setareh
                                                         SHAUNSETAREH
13                                                       WILLIAMM. PAO
                                                         NOLANDILTS
14                                                       Attorneys for Plaintiff
                                                         BRITTANY WYNN
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